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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION


 UNITED STATES OF AMERICA,                            5:14-CR-50048-KES

                    Plaintiff,
                                               ORDER ADOPTING REPORT AND
        vs.                                        RECOMMENDATION

 GERALD WAYNE LEBEAU and
 NEIL THOMAS LEBEAU,

                    Defendants.


                      NATURE AND PROCEDURE OF CASE

        Defendants, Gerald Wayne LeBeau and Neil Thomas LeBeau, are charged

  in a superseding indictment with conspiracy to distribute cocaine and

  conspiracy to distribute marihuana. Docket 56. Gerald is also charged with

  possession with intent to distribute cocaine and attempted witness tampering.

  Id. Gerald moves: to suppress evidence (Docket 30, Docket 142);1 to suppress

  tape recordings of jail telephone calls (Docket 129); to suppress sealed




        1 Initially, Gerald moved to suppress evidence based on a Fourth

  Amendment violation. Docket 30. An evidentiary hearing was held on
  October 29, 2014. Following the evidentiary hearing, another hearing was held
  ex parte and new counsel was appointed to represent Gerald. The evidentiary
  hearing was held open so Gerald’s new counsel could present additional
  argument and evidence, if desired. Docket 80. Gerald’s current counsel filed a
  new motion to suppress on Gerald’s behalf accompanied by a request for a
  Franks hearing. Docket 142. Both motions raise the same issues. The report
  and recommendation address the motions together. No party objected to that
  joint consideration.
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  envelopes and for a Franks hearing (Docket 140); and to suppress evidence

  taken from tribal land (Docket 157). Neil LeBeau moves: to suppress recorded

  telephone conversations (Docket 154); to join Gerald’s motion to suppress

  evidence taken from tribal land (Docket 160); to suppress evidence from a 2012

  traffic stop (Docket 161); and to join Gerald’s motion to suppress sealed

  envelopes and for a Franks hearing (Docket 163). Those motions were referred

  to a United States magistrate judge for a report and recommendation pursuant

  to 28 U.S.C. § 636(b)(1)(B).

        During the evidentiary hearing, which spanned three days, the

  magistrate judge heard testimony from fifteen witnesses. Forty-two exhibits

  were received into evidence. Magistrate Judge Daneta Wollmann issued a

  report and recommended denial of all the pending motions. Docket 248. Gerald

  objects to the report and recommendation. Docket 273. Gerald also requests

  that this court remand to reopen the suppression hearing or to supplement the

  record. Docket 274. Neil has not objected to the report and recommendation

  and the time for filing objections has passed. For the following reasons, the

  report and recommendation is adopted as supplemented by this opinion.

                                 LEGAL STANDARD

        Pursuant to 28 U.S.C. § 636(b)(1)(C), the court should make a de novo

  review “of those portions of the [magistrate judge’s] report or specified proposed

  findings or recommendations to which objection is made.” Accord United States

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  v. Benitez, 244 F. App’x 64, 66 (8th Cir. 2007) (“If a party objects to the

  magistrate judge’s report and recommendation with respect to a dispositive

  matter, the district court judge must conduct a de novo review of the disputed

  portion of the magistrate judge’s report and recommendation.”). A motion to

  suppress evidence is a dispositive motion that requires de novo review. Fed. R.

  Crim. P. 59(b)(1), (3). De novo review in the context of reviewing a magistrate

  judge’s report and recommendation does not require a new evidentiary hearing

  and only means a district court “give[s] fresh consideration to those issues to

  which specific objection has been made by a party.” United States v. Raddatz,

  447 U.S. 667, 674-75 (1980) (internal quotations and citations omitted). In

  conducting de novo review, this court may then “accept, reject, or modify, in

  whole or in part, the findings or recommendations made by the magistrate

  judge.” 28 U.S.C. § 636(b)(1); see also United States v. Craft, 30 F.3d 1044,

  1045 (8th Cir. 1994). The court has conducted a de novo review.

                                        FACTS

        On January 9, 2014, law enforcement arrested Lloyd Nickle on a warrant

  at Cadillac Jack’s Casino in Deadwood, South Dakota. The following day,

  Special Agent Jeff YoungBlood executed a search warrant on a room registered

  to Nickle at Cadillac Jack’s, Room 471. The casino’s manager, Tim Atyeo,

  reported to Agent YoungBlood that a woman who had accompanied Nickle,



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  identified at the time by hotel staff as Jessica Fields, was still in the hotel and

  had been seen with Gerald LeBeau.

        Agent YoungBlood contacted Agent Dan Cooper to see if Agent Cooper

  was familiar with Gerald. Agent Cooper was familiar with Gerald based on

  Gerald’s previous conviction of drug charges. Gerald was currently the subject

  of an open and active FBI investigation at the time. Agent Cooper was also

  aware of reports that Gerald possessed guns and had threatened to have a

  shootout with police rather than go back to prison. Consequently, Agent

  Cooper decided to go to Cadillac Jack’s to assist Agent YoungBlood with the

  developing situation. Upon arrival at Cadillac Jack’s, Agent Cooper recognized

  Gerald’s car in the parking lot. Because Agent Cooper knew Gerald would

  recognize him, he waited in the parking lot while Agent YoungBlood, along with

  Agent Lyle Tolsma and Agent Shawn Sheridan, entered Cadillac Jack’s.

        The agents reviewed five hours of hotel video surveillance footage to

  determine where the woman associated with Nickle could be found. Hotel staff

  identified a woman seen with Gerald as the woman tied to Nickle. Based on the

  surveillance footage, law enforcement believed that woman was in Gerald’s

  hotel room, Room 452. Law enforcement went to the fourth floor with hotel

  staff and observed a woman with Gerald whom hotel staff again identified as

  the person associated with Nickle.



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        Based on the reported association of the woman in Room 452 with

  Nickle, law enforcement requested that Atyeo have the front desk call Gerald’s

  room and ask him to step outside to speak with Atyeo. Gerald opened his door,

  and the law enforcement agents patted him down, handcuffed him, and began

  to speak to him about the female in his room. At the same time, Marlin LeBeau

  approached the room and was also handcuffed and detained.

        Agent Tolsma used an audio recorder to document the conversation in

  the hallway. Because of the poor quality of the recording and other background

  noise, it is difficult to hear the exchange between law enforcement and Gerald

  in the hallway. After a few minutes, Gerald called out to the woman in the room

  and law enforcement knocked on the door. The woman answered the door, and

  Agents Tolsma and Sheridan stepped into the hotel room.

        Upon entering Room 452, Agent Tolsma spoke with the woman, who

  identified herself as Tyra Smith. While that conversation was occurring, Agent

  Sheridan performed a brief protective sweep of the hotel room. During the

  sweep, Agent Sheridan noticed white powder in plain view. Shortly thereafter,

  Agent YoungBlood escorted Smith to Room 471 to attempt to ascertain her

  identity and determine whether she was the woman known to hotel staff as

  Jessica Fields.

        After Agent YoungBlood and Smith left, Agents Tolsma and Sheridan

  brought Gerald and Marlin into Room 452. The agents moved Gerald’s

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  handcuffs to his front so he could sit down. At that time, the agents obtained

  Gerald’s consent to search Room 452. Gerald signed a permission to search

  form.2 Although the audio recorder malfunctioned while Gerald was signing the

  form, Agent Tolsma replaced the recorder’s battery and resumed the recording,

  at which time Gerald verbally confirmed his signature and his consent. Later,

  Gerald agreed that law enforcement could search his car located in the hotel

  parking lot. Law enforcement located a small amount of cocaine and syringes

  in Gerald’s hotel room. Agent Cooper found four ounces of cocaine hidden in

  Gerald’s car.

        Upon discovery of the large amount of cocaine in Gerald’s car, he was

  arrested and transported to the Pennington County Jail. Agent Sheridan

  advised Gerald of his Miranda rights and Gerald requested a lawyer. At that

  point, both agents stopped asking Gerald questions, although both agents

  indicated that Gerald continued to discuss his gambling extensively. Once

  Gerald arrived at the Pennington County Jail, he was booked and signed the

  standard booking form.

        On January 16, 2014, Agent Cooper prepared an affidavit in support of

  an application for a search warrant for Gerald’s trailer on the Pine Ridge Indian




        2 Gerald disputes the authenticity of his signature.

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  Reservation, Gerald’s cell phone, and Gerald’s 1992 Ford Thunderbird. Agent

  Cooper was unable to present the affidavit to a federal judge, so he presented

  the applications to South Dakota State Seventh Circuit Court Judge Robert

  Gusinsky. Judge Gusinsky issued the search warrants.

        On January 17, 2014, law enforcement searched Margaret Clark’s

  residence, which is located on the Pine Ridge Indian Reservation. Clark

  informed law enforcement that the house belonged to her and she had control

  over all of it. She consented to a search of her property, although she stated

  she did occasionally let relatives stay at her home and she did not know which

  items belonged to which person.

        While in custody at the Pennington County Jail, Gerald placed numerous

  phone calls to different individuals. At the beginning of each call, an

  announcement warns both parties to the call that the call is being recorded.

  Gerald had conversations with another inmate regarding drug activity, and the

  inmate reported the discussions to his attorney and law enforcement. Gerald

  also wrote two letters and a note, which were eventually seized and searched by

  law enforcement.

        Gerald moved to suppress his statements and the evidence from the

  hotel room and his car based on alleged Fourth Amendment violations, and for

  a Franks hearing. Docket 30; Docket 142. Gerald also moved to suppress the

  recorded telephone calls. Docket 129. Gerald moved to suppress the sealed

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  envelopes and for a Franks hearing, Docket 140, and to suppress evidence

  taken from tribal land based on a lack of jurisdiction, Docket 157. Neil moved

  to suppress the recorded phone calls, Docket 154, and to suppress evidence

  from a 2012 traffic stop, Docket 161. Neil also moved to join Gerald’s motion

  regarding the envelopes and Gerald’s motion regarding evidence seized on

  tribal land. Docket 160 (joinder in tribal land motion); Docket 163 (joinder in

  envelopes motion).

        The magistrate judge found that the initial knock and talk complied with

  the requirements of the Fourth Amendment. Docket 248 at 11-12. Because the

  government indicated it did not intend to introduce any pre-arrest statements

  by Gerald at trial, the magistrate judge recommended Gerald’s motion to

  suppress pre-arrest statements be denied as moot. Id. at 12. The magistrate

  judge also concluded that Gerald consented to the search of his room and his

  vehicle. Id. at 13-16. In doing so, the magistrate judge rejected the testimony of

  Gerald’s handwriting expert, who claimed Gerald’s signature was forged. Id. at

  16-18. The magistrate judge also determined that Gerald’s consent was

  voluntary, knowing, and intelligent. Id. at 18-19. Thus, the magistrate judge

  concluded that even if Gerald did not consent to the initial entry into the hotel

  room, Gerald’s subsequent consent to search allowed law enforcement to

  search his hotel room and car. The magistrate judge recommended that

  Gerald’s motion to suppress evidence obtained from his car and hotel room be

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  denied. Id. at 19-22. The magistrate judge recommended that Gerald’s motion

  to suppress post-arrest statements be denied because any statements made

  were voluntary. Id. at 22-23.

        With respect to the January 16, 2014, search warrants, the magistrate

  judge found no basis for a Franks hearing. Id. at 23-28. She determined that

  the warrants were supported by probable cause and Judge Gusinsky had the

  authority to issue the warrants. Id. at 28-30, 38-39. The magistrate judge

  recommended that the motions to suppress jail telephone calls by both Gerald

  and Neil be denied because they were recorded in the ordinary course of

  business and Gerald and Neil had notice the calls were being recorded. Id. at

  30-31. The magistrate judge concluded that the documents obtained from Scott

  Burleson, Pablo LeBeau, and Luke Pond were not obtained in violation of the

  Fourth Amendment. Id. at 32-34. With respect to the sealed letters, the

  magistrate judge found no basis for a Franks hearing and concluded that the

  search warrant was supported by probable cause. Id. at 34-37. The magistrate

  judge also recommended that Neil’s motion to join be denied because he could

  show no reasonable expectation of privacy in any of those materials. Id. at 31-

  32.

        With respect to the evidence taken from tribal land, the magistrate judge

  concluded that the state court judge had authority to issue the search

  warrants and recommended that Gerald’s jurisdictional argument be rejected.

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Id. at 38-39. The magistrate judge found that Gerald did not demonstrate a

reasonable expectation of privacy in Margaret Clark’s residence. Id. at 39-41.

Again, the magistrate judge recommended that Neil’s motion to join be denied

because Neil did not show that he had a reasonable expectation of privacy in

any of the places searched. Id. at 37-38. Finally, the magistrate judge

recommended that Neil’s motion to suppress evidence obtained during a 2012

traffic stop be denied as moot because the government indicated it did not

intend to offer such evidence. Id. at 41.

                                     DISCUSSION

I.    Jurisdiction

      Gerald objects to the report and recommendation’s jurisdictional

statement. Gerald’s argument, in its entirety, states that “[Gerald] is a Native

American and this Court does not have jurisdiction over his person.” Docket

273 at 2. Objections to a magistrate judge’s report and recommendation must

be specific enough to allow a district court to understand the nature of the

objection and to rule on it. Gerald’s single unsupported sentence does not point

the court to any reason why this court would not have jurisdiction over Gerald.

Nonetheless, having considered the jurisdictional issue de novo, the court finds

it does have jurisdiction over this matter and over Gerald personally. See

United States v. Drapeau, 414 F.3d 869, 877-78 (8th Cir. 2005) (stating that

federal drug laws apply on reservations and to tribal members); LeBeaux v.

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United States, 165 F. App’x 496, 498 (8th Cir. 2006) (unpublished decision)3

(rejecting a similar argument by Gerald, in an action related to his first federal

drug conviction, that the Fort Laramie Treaty deprived the district court of

jurisdiction over a drug conspiracy charge against Gerald). The objection is

overruled.

II.   Factual Background

      Gerald objects that the report and recommendation “makes numerous

factual findings based on testimony unsupported by physical evidence.” Docket

273 at 2. Gerald provides no authority requiring physical evidence to support

factual findings. Testimony, particularly credible, consistent, and corroborated

testimony, is sufficient to support the report and recommendation’s factual

background statements.

      Gerald’s objection also identifies examples of factual conclusions in the

report and recommendation that he believes are either unsupported or false.

Id. at 2-3. Gerald argues that the evidence does not show he ever possessed a

gun. The report and recommendation did not state that Gerald in fact

possessed a gun. Rather, it accurately recounted Agent Cooper’s testimony that




      3 Although Eighth Circuit Rule 32.1A indicates that unpublished

decisions issued prior to January 1, 2007, should generally not be cited, this
unpublished opinion is available through a commercial electronic database and
has particular relevance to this case.
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law enforcement had received reports that Gerald had access to guns and had

threatened violence if confronted by law enforcement. That testimony was

offered to support Agent Cooper’s belief that he should assist Agent

YoungBlood in a potentially dangerous situation. Physical evidence is not

required to support Agent Cooper’s conclusion.

      Gerald contends that the report and recommendation’s description of the

identity of the female in his hotel room is inaccurate. He argues that Tyra

Smith was never in the company of Nickle and no witnesses tied her to Nickle.

That argument is unsupported by the evidence. Although the issue of Smith’s

actual identity and the identity of the woman known as Jessica Fields is

confused, multiple witnesses testified that hotel staff identified the woman with

Gerald (Smith) as the same woman seen with Nickle (Fields). The report and

recommendation correctly attributed those statements to hotel staff.

      Gerald argues that the report and recommendation’s statement that

officers reviewed surveillance video of the female with Gerald is false. The basis

of Gerald’s objection is “[n]o such video exists.” Multiple witnesses testified that

they viewed surveillance footage. The fact that the footage was not

subsequently taken into evidence does not mean officers did not view it at the

time. The report and recommendation accurately represents the credible

testimony of the witnesses.



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      Gerald asserts that the report and recommendation’s statement that

Gerald allowed law enforcement to enter his room is inaccurate because there

is no written consent and the audio does not prove consent. The report and

recommendation relies on the testimony of the agents and notes the limitations

of the audio recording. The report and recommendation’s statement is

supported by the testimony of multiple witnesses and is not undermined by the

lack of a written consent to the initial entry.

      Gerald argues that the report and recommendation inaccurately states

that Agent Tolsma entered the hotel room. Gerald bases his argument on the

fact that Agent Tolsma moved the latch on the door without Gerald’s consent,

thereby keeping the door open and allowing Agent Tolsma to enter later.

Gerald’s argument is unsupported by the testimony at the hearing. Agent

Tolsma testified that he did not move the latch after Gerald initially came out of

the room, but the door stayed ajar on its own. Docket 193 at 75 (Tr. 283).

Agent Tolsma explained that he did not move the latch to keep the door open

until they were searching the room to allow other agents to enter without

getting a key from the manager. Id.

      Gerald argues that the report and recommendation improperly stated

that Gerald’s prior attorney admitted that Gerald gave law enforcement

permission to enter his hotel room to remove the female. Gerald believes that

statement is improper because Gerald’s previous attorney never testified at the

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suppression hearing. The statement referenced in the report and

recommendation is found at Docket 31 at 1 (“Defendant [Gerald] LeBeau

granted permission only to remove the female from his hotel room.”). The report

and recommendation relied on the testimony of law enforcement that Gerald

gave them permission to enter the room to speak with the female in the room.

The magistrate judge did not rely on the argument by Gerald’s former attorney,

but noted that argument as consistent with the testimony presented at the

hearing by law enforcement.

      Gerald argues that the report and recommendation inaccurately stated

that he signed the consent form. Although the factual background section of

the report and recommendation did not discuss the testimony of the

handwriting expert, the report and recommendation later analyzed the

competing testimony on the authenticity of Gerald’s signature in detail. The

report and recommendation explained and supported its decision to reject

Gerald’s expert testimony. Gerald also asserts that he could not have signed

the consent form because his hands were handcuffed behind his back. But

that argument fails to account for the fact that law enforcement moved Gerald’s

handcuffs to the front when they brought him from the hallway into Room

452—before he signed the consent form. See, e.g., Docket 193 at 106 (Tr. 314).

Thus, it was not error for the report and recommendation to state that Gerald

signed the consent form.

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      Gerald argues that the report and recommendation incorrectly stated

that Gerald did not show signs of intoxication. Despite Gerald’s assertion to the

contrary, multiple witnesses testified that Gerald did not appear intoxicated.

The report and recommendation accurately summarized the testimony

presented at the evidentiary hearing.

      Gerald argues that the report and recommendation incorrectly stated

that Magistrate Judge Duffy was not available. Again, the report and

recommendation accurately recounted the uncontroverted testimony given at

the hearing.

      Gerald contends that the report and recommendation stated Gerald

placed phone calls from jail but no expert identified the voice on the tapes as

Gerald and the tapes otherwise lack foundation. Agent Cooper testified that he

recognized Gerald’s voice on the tapes and that he is familiar with Gerald’s

voice and the people Gerald was discussing on the tapes. See Docket 195 at

127 (Tr. 127). Gerald provides no reason why the government must provide

expert testimony to identify Gerald’s voice, or why Agent Cooper’s testimony is

insufficient to establish foundation for the tapes.

      Finally, Gerald argues that the report and recommendation states that

law enforcement seized two sealed letters, but that the search warrant

application demonstrates the letters were unsealed prior to the obtaining the

search warrant. The page pointed to by Gerald, Bates stamped 574, shows a

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fax date of July 16, 2014. See Ex. K. But that page was not one of the sealed

letters. Instead, it was one of the letters given to Scott Burleson and turned

over to the government by him. The sealed letters, Bates stamped 580-592 in

Exhibit K, bear no fax information. See also Docket 195 at 203 (Tr. 203) (cross-

examination of Agent Cooper regarding the sealed envelopes). Thus, the fax

date on the page referenced by Gerald does not show that the sealed letters

were in fact unsealed before the search warrant was issued.

       After reviewing the transcript of the evidentiary hearing and the exhibits

introduced at that hearing and considering Gerald’s objection and examples de

novo, the court believes the report and recommendation properly relied on

credible testimony presented at the hearing and that the factual background

section correctly summarizes the evidence presented at the hearing. Gerald’s

objection is overruled.

III.   Motion to Suppress

       A.    Introduction

       Gerald objects that “[l]aw enforcement did not have probable cause to

conduct a search of [Gerald’s] hotel room in Deadwood. As soon as [Gerald]

opened the door, law enforcement pulled him out of the room, handcuffed him

and without his consent latched the hotel room door so it would not close.”

Docket 273 at 3. The corresponding section of the report and recommendation



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found that law enforcement properly engaged in a knock and talk and did not

violate the Fourth Amendment. Docket 248 at 11-12.

      Law enforcement officers do not engage in a search when they knock on

a suspect’s door and initiate a conversation in an attempt to obtain evidence.

See Kentucky v. King, 131 S. Ct. 1849, 1862 (2011). Thus, law enforcement is

not required to demonstrate probable cause for a knock and talk. The court

agrees with the report and recommendation’s conclusion that law enforcement

complied with the knock and talk procedures in this case.

      Additionally, Gerald’s description of the facts is not consistent with the

testimony given at the evidentiary hearing. Agent Tolsma testified that Gerald

voluntarily came out of his hotel room and that law enforcement did not pull

him out. Docket 193 at 46 (“We asked him to step out of the room. To speak

with us. He came out of the room.”); id. at 85 (“We asked him to come out and

he willingly came out to visit with us.”). Although Gerald was handcuffed,

officers may handcuff a suspect to protect their safety. Smith, 645 F.3d 998,

1002-1003 (8th Cir. 2011) (stating that officers may handcuff an agitated

suspect during a Terry stop); United States v. Comstock, 531 F.3d 667, 677 (8th

Cir. 2008) (internal quotation marks omitted) (“[B]eing handcuffed does not

preclude a finding of voluntariness.”). Agent Tolsma also testified that he did

not latch the door open. Id. at 75. Gerald introduced no contradictory evidence.



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Thus, the report and recommendation’s factual conclusions are supported by

the evidence. Gerald’s objection is overruled.

      B.    Pre-Arrest Statements

      The magistrate judge recommended that Gerald’s motion to suppress his

pre-arrest statements be denied as moot because the government indicated it

did not intend to introduce any such statements at trial. Gerald states that he

renews that motion, but does not provide any argument, evidence, or authority

as to why the magistrate judge’s conclusion should not be adopted by this

court. When the government indicates it will not introduce evidence challenged

in a motion to suppress, there is no evidence to be suppressed and the motion

should be denied as moot. See United States v. Brown, 584 F.2d 252, 255 (8th

Cir. 1978) (internal quotations omitted) (“As evidence was not introduced as a

result of these searches, there is nothing upon which the exclusionary rule can

operate.”). Gerald’s objection is overruled.

      C.    Search of the Hotel Room

            1.     Consent      Gerald objects to the report and

recommendation’s conclusion that he consented to the search of his hotel

room. Specifically, Gerald argues that the government agreed not to use his

pre-arrest statements against him so the government cannot use those

statements to show consent. Docket 273 at 4. Gerald also argues that there is

no testimonial evidence from a prior attorney whom Gerald consented. Id.

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Gerald also reiterates his contention that he was forcibly removed from his

room and that law enforcement latched the door open. Id.

      Gerald’s assertion that the government cannot show consent because it

agreed not to introduce his pre-arrest statements confuses the introduction of

statements at trial with the introduction of statements at the suppression

hearing. The fact that the government will not use Gerald’s statements at trial

does not preclude the government from using those statements to show that

Gerald consented to a search, particularly when Gerald himself put his consent

in question by arguing for suppression. Gerald’s argument regarding the

statement by his prior attorney is unpersuasive and the report and

recommendation’s conclusion is supported by uncontroverted testimonial

evidence from several credible sources. Finally, for the reasons the court

previously stated, Gerald’s description of being yanked from his room and his

contention that law enforcement latched the door open are unsupported by the

evidence. Gerald’s objection is overruled.

            2.    Forgery

      Gerald objects to the report and recommendation’s decision to reject the

opinion of Wendy Carlson, a handwriting expert retained by Gerald who opined

that Gerald’s signature on the consent form was forged. Gerald’s objection

reads:



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      Ms. Wendy Carlson, a handwriting expert, examined the consent to
      search form which the government claims [Gerald] signed. The
      Court states no proof and it is only purported when it is the same
      signature and document the government provided. [sic] Likewise
      then, the government’s attempt to claim [Gerald] signed it is
      unproven. Moreover, the government’s FBI expert did not seek over
      30 signatures for comparison and rarely is capable of giving an
      opinion of a known signature. The signature was forged.

Docket 273 at 4.

      Carlson testified that she is certain the signature on the consent form is

not Gerald’s signature, and that it is highly probable that Agent Tolsma

actually signed Gerald’s purported signature. Docket 195 at 32-33. The

government called Daniel Anderson, a handwriting expert for the FBI, who

called into question Carlson’s methodology and conclusions. The government

also impeached Carlson’s qualifications. Also, the government pointed out that

Gerald was handcuffed at the time he signed the consent form. Importantly,

the government introduced credible and consistent testimony from Agents

Tolsma and Sheridan that Gerald did sign the consent form. That testimony is

confirmed by Gerald’s verbal acknowledgement of the signature on the audio

recording, along with his statement that he had nothing to hide. See Ex. 10

(beginning of track 2).4




      4 The recording appears to be divided into two tracks, the first covering

the time from law enforcement’s initial contact with Gerald to the recorder’s
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      The report and recommendation thoroughly discussed its reasons for

discounting Carlson’s opinion, and after a de novo review, this court agrees

with the magistrate judge’s conclusion to reject Carlson’s opinion. The court

finds the testimony of Agents Tolsma and Sheridan to be credible and

consistent, and their testimony is corroborated by the audio recording. Gerald’s

objection is overruled.

            3.     Impairment

      Gerald objects to the report and recommendation’s finding that he was

not impaired. In support of that position, Gerald argues that his “alcohol

content at the time of the search of his hotel room was .116, well above South

Dakota’s per se driver impairment of .08. [Gerald’s] judgment was impaired and

he did not know what he was doing.” Docket 273 at 4-5. Gerald’s expert,

Kathryn Engle, opined that Gerald’s blood alcohol content was likely between

.076 and .116 at the time of his interaction with law enforcement. Docket 195

at 104 (Tr. 104). Gerald provides no authority that the voluntariness of consent

is tied to whether a person could legally operate a motor vehicle. Each agent

who interacted with Gerald testified that he did not seem intoxicated. Also, the




malfunction, and the second beginning when the recorder was repaired.
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tape recording demonstrates that Gerald was coherent throughout the

encounter with law enforcement. Gerald’s objection is overruled.

            4.    Initial Entry

      Gerald objects to the report and recommendation’s conclusion that any

initial Fourth Amendment violation was cured by his subsequent consent.

Docket 273 at 5. In support of his objection, Gerald argues that the

government agreed not to use his pre-arrest statements against him, that he

was thrown up against the wall,5 and that he did not subsequently consent to a

search of his room. The court has already rejected those three arguments. The

court agrees with the report and recommendation’s conclusion that, even

assuming there was an initial Fourth Amendment violation, Gerald’s

subsequent consent cured any violation. Gerald’s objection is overruled.

      D.    Search of the 1992 Ford Thunderbird

      Gerald objects to the report and recommendation’s determination that he

consented to the search of his vehicle, stating “[t]he Court finds consent based

upon statements the government conceded it would not use. Also, there is no




      5 The cordial and conversational demeanor of the audio recording

contradicts Gerald’s assertion that law enforcement engaged in flagrant
conduct in this case. Gerald provides no basis for his implied assertion that the
report and recommendation incorrectly applied the factors found in United
States v. Whisenton, 765 F.3d 938, 941 (8th Cir. 2014).
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written consent. There was no consent to search the vehicle.” Id. The court has

already rejected Gerald’s argument regarding his pre-arrest statements. Also,

although there is no separate written consent form for Gerald’s vehicle, both

Agent Tolsma and Agent Sheridan testified that Gerald consented to the search

of his vehicle. Gerald can clearly be heard on the audio recording consenting to

a search of his vehicle. Ex. 10 (40 minutes into track 2). Gerald also

subsequently confirmed in a recorded phone call that he consented to the

search of his car. See Ex. 6 (phone call); Ex. 7 (transcript of phone call). The

evidence establishes that Gerald consented to the search of his vehicle.

Gerald’s objection is overruled.

      E.    Post-Arrest Statements

      Gerald objects to the magistrate judge’s recommendation that his motion

to suppress post-arrest statements be denied. Gerald argues that law

enforcement continued to question him after he asked for a lawyer and invoked

his right to remain silent. It is unclear if the government intends to introduce

any post-arrest statements made by Gerald. Even so, Agent Tolsma and Agent

Sheridan testified that they did not question Gerald after his arrest and that

Gerald volunteered information concerning his gambling habits and strategies.

That testimony is circumstantially corroborated by Gerald’s extensive and

uninhibited discussion of gambling captured throughout the audio recording.

See generally Ex. 10. Because law enforcement did not question Gerald after

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his arrest, any comments Gerald made were voluntary, were not the product of

interrogation, and did not elicit incriminating responses. See Rhode Island v.

Innis, 446 U.S. 291, 297-302 (1980). Gerald’s objection is overruled.

      F.    January 16, 2014, Search Warrant

            1.     Preliminary Showing for Franks Hearing

      Gerald objects to the report and recommendation, arguing that he met

his burden under Franks v. Delaware, 438 U.S. 154 (1978), and is entitled to a

hearing on whether law enforcement knowingly, intentionally, or with reckless

disregard for the truth, made false statements or omitted material facts in a

search warrant affidavit, which statements or omissions were necessary to a

finding of probable cause. Docket 273 at 5-7. Gerald presents a list of 24 bullet

points that he believes represents information that should have been included

in the search warrant application. Id.

      The facts Gerald argues should have been disclosed to the issuing judge

are not actually facts but are Gerald’s one-sided legal arguments and

conclusory statements. Moreover, the report and recommendation and this

court rejected Gerald’s arguments regarding his consent to search Room 452

and his vehicle. Many of Gerald’s other bullet points relate to the identity of

Jessica Fields. The testimony at the evidentiary hearing does not support

Gerald’s claim that Jessica Fields was a ruse invented by law enforcement to

get to Gerald. Rather, Agents Cooper, Tolsma, Sheridan, and YoungBlood all

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testified that at the time of their encounter with Gerald, they were relying on

information provided by hotel staff that the woman with Gerald was the same

woman who had been with Nickle. That testimony is consistent with the

testimony of Atyeo. The fact that law enforcement relied on tips from hotel

staff—even if those tips turned out to be incorrect—does not constitute a

knowing, intentional, or reckless falsehood. Gerald failed to carry his burden to

make a substantial showing that an affiant in support of a search warrant

application knowingly, intentionally, or recklessly made a false statement or

omitted a material fact. See Franks, 438 U.S. at 171 (stating that a defendant’s

challenge must be more than conclusory and must be supported by the

evidence). Gerald’s objection is overruled.

            2.     Validity of the Search Warrant

      Gerald objects to the report and recommendation’s conclusion that the

search warrants were valid. Gerald reasserts the same arguments he advanced

in objecting to the report and recommendation’s conclusion on the Franks

hearing. See Docket 273 at 7. For the reasons previously stated, those

arguments are not persuasive.

      “ ‘[T]he existence of probable cause depends on whether, in the totality of

the circumstances, there is a fair probability that contraband or evidence of a

crime will be found in a particular place.’ ” United States v. Rodriguez, 711 F.3d

928, 936 (8th Cir. 2013) (quoting United States v. Solomon, 432 F.3d 824, 827

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(8th Cir. 2005)). Probable cause is assessed “ ‘from the viewpoint of a

reasonably prudent police officer acting in the circumstance of the particular

case.’ ” United States v. Seidel, 677 F.3d 334, 338 (8th Cir. 2012) (quoting

United States v. Reinholz, 245 F.3d 765, 766 (8th Cir. 2001)). A probable cause

determination is based on a “common-sense reading of the entire affidavit.” Id.

      “ ‘When the [issuing judge] relied solely upon the supporting affidavit to

issue the warrant, only that information which is found within the four corners

of the affidavit may be considered in determining the existence of probable

cause.’ ” Solomon, 432 F.3d at 827 (internal quotations omitted) (quoting United

States v. Etheridge, 165 F.3d 655, 656 (8th Cir. 1999)). “Search warrant

[a]pplications and affidavits should be read with common sense and not in a

grudging, hyper technical fashion.” United States v. Ryan, 293 F.3d 1059, 1061

(8th Cir. 2002) (quotations and citations omitted).

      Agent Cooper’s affidavit included information from at least ten sources of

information and recorded phone calls Gerald made from jail. The information is

all mutually corroborative. “[T]he receipt of consistent information from two

separate sources is a form of corroboration.” United States v. Keys, 721 F.3d

512, 518 (8th Cir. 2013). Law enforcement also corroborated some of the

details. See Ex. N at 7 (corroborating details relating to a white trailer near a

Pizza Hut restaurant). Verification of small or innocent details can provide

sufficient corroboration to establish probable cause. Rodriguez, 711 F.3d at

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936. The affidavit also included information on the large quantity of drugs

discovered in Gerald’s vehicle and hotel room only a few days prior to the

search warrant application. The affidavit tied Gerald’s suspected drug

distribution activity to his vehicle and his residence, and it established that he

conducted drug transactions at least sometimes using a phone. This

information established probable cause to issue the search warrants. Gerald’s

objection is overruled.

            3.     Jurisdiction of Circuit Court Judge Robert Gusinsky

      Gerald’s objection, in its entirety, states “Judge Gusinsky did not have

authority to issue the search warrants.” Docket 273 at 7. Gerald provides no

new arguments or authority supporting his assertion. The Eighth Circuit

rejected a similar argument in United States v. Chipps, 410 F.3d 438 (8th Cir.

2005). In Chipps, a state court judge issued a search warrant for the

defendant’s home that was on the Pine Ridge Indian Reservation and outside

the state court judge’s territorial jurisdiction. The Eighth Circuit determined

that, under Federal Rule of Criminal Procedure 41(b)(1), the state court judge

could issue the warrant when the federal magistrate judge was unavailable. Id.

at 446. In doing so, the Eighth Circuit stated that the defendant’s “assertion

that there was no showing of unavailability does not suffice[.]” Id. at 447. As in

Chipps, the state court judge here was able to issue the warrants as a proxy for

the unavailable federal magistrate judge under Rule 41(b)(1), and Gerald’s bare

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assertion that the government did not prove unavailability is inadequate to

invalidate the warrant. Gerald’s objection is overruled.

IV.    Motion to Suppress Recorded Jail Telephone Calls

       Gerald objects to the report and recommendation’s conclusion that the

taped telephone calls Gerald made from the Pennington County Jail should not

be suppressed. Gerald argues primarily that he did not consent to the

recordings and that he had insufficient notice of the recordings.6 Docket 273 at

7-8.

       The record contradicts both of Gerald’s factual assertions. Agent Cooper

testified that a recording plays at the beginning of every call placed by an

inmate that advises the inmate and the recipient of the call that the call is

being recorded. Docket 195 at 126 (Tr. 126). Agent Cooper’s testimony is

confirmed by the calls introduced at the evidentiary hearing. See Ex. 6 (call

including introductory message); Ex. 7 (transcript of Ex. 6); Ex. 8 (call with

introductory message cut off by early acceptance of call); Ex. 9 (transcript of

Ex. 8). Thus, Gerald both had notice of the fact that his calls were recorded

and consented to the recording. The recordings do not violate Gerald’s Fourth




       6 Gerald implies there is inadequate foundation for the recordings

because there is no proof the calls were made by him. Agent Cooper testified
that he recognized Gerald’s voice. Docket 195 at 127 (Tr. 127).
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Amendment rights. See United States v. Morin, 437 F.3d 777, 780 (8th Cir.

2006); United States v. Eggleston, 165 F.3d 624, 626 (8th Cir. 1999); United

States v. Horr, 963 F.2d 1124, 1126 (8th Cir. 1992).

      Gerald also argues that the recording violated his rights under the First,

Fifth, and Fourteenth Amendments. Gerald has provided no authority, either to

the magistrate judge or this court, supporting his position. The government did

not prevent Gerald from engaging in protected speech. Nor has the government

created a mechanism to collect discovery without providing reciprocal discovery

or to improperly generate evidence. The government did not compel Gerald to

make the phone calls in question or to make the incriminating comments

found on the recordings. The recording of prison phone calls is a standard

procedure to which Gerald consented and which did not deprive him of any

recognized constitutional rights. See Horr, 963 F.3d at 1126 (“Horr was aware

of the telephone monitoring policy. It was his choice to use the telephone to

conduct his illegal business. Having gambled by discussing his escape on the

prison telephone, Horr cannot now be heard to complain that he lost.”).

Gerald’s objection is overruled.7




      7 Neil has not objected to the report and recommendation’s conclusion

that his motion to suppress the recorded phone calls should be denied. The
court adopts that conclusion for the same reasons given with respect to
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V.    Motion to Suppress Sealed Envelopes and for Franks Hearing

      A.     Neil’s Motion for Joinder

      Gerald asserts that “[t]he government cannot prove any consent or legal

authority to read Neil’s letter. It must be suppressed.” Docket 273 at 10. Neil

has not objected to the report and recommendation. Nonetheless, the court has

conducted a de novo review and adopts the report and recommendation’s

conclusion that Neil does not have standing to challenge the introduction of the

letters. Gerald’s objection is overruled.

      B.     Documents Provided by Scott Burleson and Pablo LeBeau

      Gerald’s objection states that “[t]here is no proof these documents were

legally obtained from [Gerald]. They must be suppressed.” Docket 273 at 10. It

is unclear to which documents Gerald refers, but he attached to his brief in

support of the motion to suppress (1) a letter given to the government by Scott

Burleson, and (2) a letter given to the government by Pablo LeBeau’s attorney.

See Docket 141 at 1-2 (listing those two items in addition to the sealed

envelopes and note to Luke Pond).

      Agent Cooper testified that Burleson turned over a letter written by

Gerald that Gerald wanted Burleson to mail for him in an effort to circumvent




Gerald’s motion.
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the jail’s mail policy and conceal his communication. Docket 195 at 151 (Tr.

151). That testimony links Gerald to the first letter. Agent Cooper also testified

that Burleson did not steal the letter from Gerald, but that Gerald voluntarily

gave the letter to Burleson8. Id. at 200 (Tr. 200). As to the letter turned over to

the government by Pablo’s attorney, Agent Cooper testified that Pablo

represented that the letter was sent to him by Gerald. Id. at 158 (Tr. 158).

Thus, Gerald’s argument that no evidence ties him to the letters or that the

letters were somehow illegally obtained from him is without merit. Gerald’s

objection is overruled.

      C.     Note between Gerald and Luke Pond

      Gerald states that “[t]he note is mail and may not be personally

interfered with by the government absent consent or a warrant, neither of

which was proven. The note/mail must be suppressed.” Docket 273 at 10.

Gerald fails to rebut the report and recommendation’s position that any

expectation of privacy Gerald had in the note terminated upon delivery of the

note to Pond. Furthermore, like the letters from Burleson and Pablo, Agent




      8  The report and recommendation states, “No is no evidence that law
enforcement did not directed Scott Burleson or Pablo LaBeau to steal anything
from Gers LeBeau.” Docket 248 at 33. This appears to be a typographical error.
From context, it is clear that the magistrate judge intended to state that there
is no evidence that law enforcement directed Scott Burleson or Pablo LeBeau to
steal anything from Gerald.
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Cooper testified that Pond gave the note to the government for inspection.

Docket 195 at 161 (Tr. 161). Gerald has failed to establish a Fourth

Amendment violation. Gerald’s objection is overruled.

      D.    Sealed Envelopes Obtained Through Search Warrant

      Gerald objects to the report and recommendation’s conclusion that he is

not entitled to a Franks hearing because he did not make a substantial

showing that Agent Miller knowingly, intentionally, or recklessly included false

statements in his affidavit in support of his search warrant application for the

sealed letters. Gerald’s argument merely reproduces the bullet points he

presented in connection with the January 16, 2014, search warrant. See

Docket 273 at 12-13. For the reasons stated above, the court does not accept

Gerald’s characterization as sufficient to show a Franks violation. In fact, Agent

Miller’s affidavit has nothing to do with the January 10, 2014, search of

Gerald’s vehicle and hotel room. See Ex. K (Miller affidavit). Thus, the failure of

Agent Miller to include facts unrelated to the events in his search warrant is

not a Franks violation.

      Gerald also argues that the search warrant for the sealed letters is

unsupported by probable cause. Docket 273 at 10-12. The affidavit includes

information that Gerald was suspected of continuing his drug operation from

jail via phone calls and outgoing letters. Ex. K at 2-3. The affidavit also

references, and includes as attachments, prior written communications by

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Gerald relating to his drug operation. See attachments to Ex. K. The affidavit

presents ample facts to demonstrate there was a fair probability that evidence

of a crime would be found in the sealed letters. See Illinois v. Gates, 462 U.S.

213, 238 (1983). Gerald’s objection is overruled.

VI.   Motion to Suppress Evidence Taken from Tribal Land for Lack of
      Jurisdiction

      A.    Neil’s Motion to Join

      Gerald argues that “[a]s [a] member of the Oglala Sioux Tribe, Neil has

standing to challenge any unauthorized intrusion into his sovereign country.”

Docket 273 at 13. Neil has not objected to the report and recommendation.

Nonetheless, the court has conducted a de novo review and adopts the report

and recommendation’s conclusion that Neil does not have standing to

challenge the searches on tribal land.

      B.    Jurisdiction

      Gerald objects to the report and recommendation’s conclusion that

Judge Gusinsky was empowered to issue the search warrants for items on

tribal land. Docket 273. Gerald provides no new arguments or authorities on

this question. As discussed above, the report and recommendation correctly

concluded that Judge Gusinsky had the power to issue the warrants based on

the unavailability of a federal magistrate judge. See Chipps, 410 F.3d at 446.

Gerald’s objection is overruled.


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      C.    Margaret Clark Residence and Electric Pole

      Gerald objects to the report and recommendation’s conclusion that he

does not have standing to challenge the search of Margaret Clark’s residence.

Docket 273 at 14. Gerald’s objection states “[a]s a member of the Oglala Sioux

Tribe, [Gerald] has standing to challenge any unauthorized intrusion into his

sovereign country.” Id.

      “Fourth Amendment rights are personal and cannot be asserted

vicariously.” United States v. Pierson, 219 F.3d 803, 806 (8th Cir. 2000).

Margaret Clark testified that she consented to the search of her residence and

that although other people stayed at her residence from time to time, only she

and her sister Twila had a key to the house. Docket 193 at 275-76 (Tr. 483-84).

Thus, Gerald does not have standing to challenge the search of Clark’s

residence. Gerald’s unsupported assertion regarding unauthorized intrusion on

sovereign territory does not alter that outcome. Gerald’s objection is overruled.9




      9 The report and recommendation does not address the photos taken

from a light pole near the Susan Schrader residence. Because Gerald does not
provide any specific objection to that omission, the court does not review that
issue.
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VII.   Motion to Reopen Suppression Hearing

       In conjunction with his objections to the report and recommendation,

Gerald moves this court to remand the motion to suppress to reopen the

evidentiary hearing. Docket 274. Gerald bases his motion on alleged surprise

and newly discovered evidence regarding photos purportedly showing Gerald’s

vehicle and his trailer in Pine Ridge on January 9, 2014, that he was unable to

present at the evidentiary hearing due to a lack of notice.

       A district court may, in its discretion, reopen a suppression hearing to

hear newly discovered evidence. See United States v. Johnson, 944 F.2d 396,

403 n.5 (8th Cir. 1991) (holding that the district court did not abuse its

discretion when it reopened the suppression hearing “to allow consideration of

evidence not presented at the initial hearing”). In making the decision to reopen

an evidentiary hearing, a district court may consider the probative value of the

proffered new evidence and may deny the motion when the evidence is of little

or no value in ruling on the motion to suppress. See United States v. Gill, 513

F.3d 836, 846 (8th Cir. 2008).

       Here, the evidentiary hearing was three days long. Gerald had ample

opportunity to present evidence. Also, Gerald’s counsel questioned the

accuracy of the photos of the trailer and vehicle at the outset of the evidentiary

hearing. See Docket 195 at 6-7 (Tr. 6-7) (arguing that Lona Lee Colhoff’s

testimony was relevant to the question of whether the photos of Gerald’s

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vehicle and trailer taken January 9, 2014, are authentic). Gerald also

questioned Marie Zephier on whether Gerald’s vehicle and trailer could have

been photographed together on January 9, 2014. See Docket 193 at 316-18

(Tr. 524-26). Thus, Gerald’s assertion that he was surprised at “the 11th hour”

by the photographs of the vehicle and trailer is disingenuous at best.

Furthermore, Gerald does not identify what new evidence he would present if

the hearing were reopened. The court is unable to assess what, if any,

probative value the new evidence would have. Gerald’s motion to reopen the

suppression hearing is denied.

                                  CONCLUSION

      For the reasons stated in this opinion, Gerald’s objections to the report

and recommendation are overruled, and the court adopts the report and

recommendation as supplemented by this opinion. Gerald cannot show a

justification for reopening the suppression hearing. Accordingly, it is

      ORDERED that Gerald LeBeau’s first motion to suppress (Docket 30) is

denied as moot with respect to Gerald’s pre-arrest statements, and the

remainder of the motion is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to suppress tape

recordings of jail telephone calls (Docket 129) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to suppress

sealed envelopes and for a Franks hearing (Docket 140) is denied.

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      IT IS FURTHER ORDERED that Gerald LeBeau’s second motion to

suppress and for a Franks hearing (Docket 142) is denied as moot with respect

to Gerald’s pre-arrest statements, and the remainder of the motion is denied.

      IT IS FURTHER ORDERED that Neil LeBeau’s motion to suppress

recorded phone calls (Docket 154) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to suppress

evidence taken from tribal land (Docket 157) is denied.

      IT IS FURTHER ORDERED that Neil LeBeau’s motion for joinder (Docket

160) is denied.

      IT IS FURTHER ORDERED that Neil LeBeau’s motion to suppress 2012

traffic stop evidence (Docket 161) is denied as moot.

      IT IS FURTHER ORDERED that Neil LeBeau’s motion for joinder (docket

163) is denied.

      IT IS FURTHER ORDERED that Gerald LeBeau’s motion to reopen the

suppression hearing (Docket 274) is denied.

      Dated July 2, 2015.

                                     BY THE COURT:


                                     /s/Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE




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